Case 1:19-cv-00958-TWP-DLP Document 79-6 Filed 08/27/19 Page 1 of 19 PagelD #: 1020

STATE OF INDIANA )
) 8S: IN THE DELAWARE CIRCUIT COURT 2
COUNTY OF DELAWARE ) FILED
DELAWARE CIRCUIT COURT NO,
DELAWARE COUNTY, INDIANA 2
STATE OF INDIANA,

MAR 61 2617

gph ete

Plaintiff-Respondent,

vs, Cause No. 18D02-9204-CF-

WILLIAM E. BARNHOUSE,

Defendant-Petitioner.

 

JOINT MOTION FOR NEW TRIAL PURSUANT TO IND. CODE § 35-38-7-19 AND
THE INDIANA RULES OF PROCEDURE FOR POST-CONVICTION RELIEF

 

 

William Barnhouse, by and through undersigned counsel, along with the State of Indiana,
together respectfully file this Motion for New Trial Pursuant to Ind. Code § 35-38-7-19 and

the Indiana Rules of Procedure for Post-Conviction Relief, and in support of this motion

jointly state as follows:

Factual Backpround
1. On December 15, 1992, Mr. Barnhouse was convicted of one Count of Rape and

one Count of Criminal Deviate Conduct, arising from the April 21, 1992 rape of the victim P.L.
On both counts, the jury found him guilty but mentally ill. He was sentenced to 80 years

imprisonment.
2. The victim was attacked behind a vacant building in Muncie. The victim gave a
description of her attacker to the Muncie Police Department. Ostensibly based upon that

description, a Muncie Police Officer stopped Mr. Bamnhouse shortly after the attack.

 
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3, The victim identified Mr. Bamhouse in a one-on-one show-up procedure. During
this show-up Mr. Barnhouse was standing next to three squad cars and next to several police

officers. Police shined flashlights on Mr. Barnhouse’s face. On the basis of this identification,

Mr. Barnhouse was arrested.'

4, Shortly after the attack, the victim went to the hospital where a sexual assault
examination kit and the jeans she was wearing” were collected and sent to the Indiana State Police
lab for analysis,

5, At trial, the State presented expert testimony of a forensic serologist from the
Indiana State Police crime lab. The expert testified that he found sperm on the victim’s
vaginal/cervical swabs and semen on the inside crotch area of her jeans.

6. The State’s forensic serologist testified that he had training in serology and had
conducted about 500 serological analyses during his career. He explained that the purpose of
collecting reference standards fiom the victim and the defendant is to see if they “match” the stain
found on the crime scene evidence. Using basic serological analysis, he testified that the genetic
markers detected on the vaginal/cervical swabs and jeans were consistent with that of the victim or
a mixture of fluids from the victim and Mr. Barnhouse. As a result, he could not exclude Mr.
Barnhouse as a possible source of the semen.

7. At trial, the State also presented the expert testimony of a forensic hair analyst

from the Indiana State Police crime lab. The hair analyst testified that he had conducted

 

i Prior to trial, the defense moved to suppress this identification on the basis that it was
tainted and unduly suggestive. That motion was denied, This specific issue was raised in
Barnhouse’s direct appeal. The Indiana Court of Appeals affirmed the trial court's denial in a
memorandum decision. See Barnhouse y. State, Memorandum Decision 18A405-9304-CR-137

(October 21, 1993).

2 The victim testified that she put only her jeans (no underwear) and t-shirt back on afler
the rape.
Case 1:19-cv-00958-TWP-DLP Document 79-6 Filed 08/27/19 Page 3 of 19 PagelD #: 1022

thousands of hair examinations, comparing a questioned hair to a known hair standard side by
side under a microscope. He testified that he attended a serology class at the FBI, completed
DNA courses at the FBI, and worked as a visiting scientist at the FBI. The hair examiner
explained to the jury that he had training in hair analysis and that the training he received was
accepted in that field. The State’s forensic hair analyst identified a number of characteristics
found in hairs and testified that those characteristics are “somewhat individual” for each person.
In this case, he testified that one hair found in the victim’s pubic hair combings was “sufficiently
similar” to Mr. Barnhouse’s pubic hair standard to be “of common origin.” He testified that this
one hair “matched” Mr. Barnhouse’s pubic hair standard and looked “exactly like” Mr.
Bambhouse’s pubic hair such that he could not tell the difference between the two hairs. He
explained that if he placed that one hair in a pile of Mr. Bamhouse’s pubic hair standards he
could not pick it out. In its opening statement, the State argued that Mr. Barnhouse left his hair
on the victim’s body. In its closing argument, the State asserted that a hair in the victim’s pubic
hair combing belonged to Mr. Bamhouse and that the forensic evidence proved the State’s case.
In closing, the prosecution further argued that this hair was a “silent witness” that proved that
Mr. Barnhouse committed the crime.

8. At trial, the State relied on various pieces of evidence including, but not limited
to, the victim’s identification of Mr. Barnhouse, the testimony regarding the pubic hair
comparison, and the testimony regarding the genetic markers in the seminal material.

9. Mr. Barnhouse maintained his innocence during the investigation and tial. He

never disputed that a heinous crime had occurred. Rather, he claimed that he was the victim of

mistaken identification.
Case 1:19-cv-00958-TWP-DLP Document 79-6 Filed 08/27/19 Page 4 of 19 PagelD #: 1023

DNA Analysis

10. ‘In 2013, the FBI announced for the first time that testimony asserting that a crime
scene hair is a “match” to a particular defendant’s hair through microscopic hair comparison
implies a level of certainty that exceeds the limits of science. The FBI further conceded, for the
first time, that hair microscopy is limited in that hairs cannot be individualized and the size of the
pool of people who could be included as a possible source of a specific hair is unknown.

1}. ‘In January 2016, with the consent of the Delaware County Prosecutor’s Office, the
Delaware Circuit Comt No. 2 ehtered an Agreed Order for Post-Conviction DNA. Testing in this
case. (Exhibit A.) Under the terms of that Order, the victim’s sexual assault kit and jeans were
subjected to post-conviction DNA, testing. The testing was conducted in contemplation of filing a ac
petition for post-conviction relief pursuant to Ind. Code § 35-38-7-5, (/d.) . me

12, In 2016, STR DNA testing identified the male DNA profile of the sperm on the
victim’s jeans. The same male profile was identified on the sperm found on the victim’s
vaginal/cervical swabs. (Exhibit B.) A representative of the Muncie Police Department collected a
new buccal (saliva) sample from Mr, Bamhouse. Mr. Barnhouse’s DNA profile was then
compared to that of the DNA profile of the sperm found on the victim’s jeans and vaginal/cervical
swabs. The DNA analysis excluded Mr. Bambhouse as the source of the sperm on the victim’s
jeans and the victim’s vaginal/cervical swabs. (Exhibit C.) The victim P.L. was also excluded as a
possible contributor of the DNA profile obtained from these samples, (Exhibit B.)

Applicable Indiana Law

13. Indiana’s post-conviction DNA statute provides as follows:

Notwithstanding any law that would bar a trial as untimely, if the

results of postconviction DNA testing and analysis are favorable
to the person who was convicted of the offense, the court shall

order any of the following:
Case 1:19-cv-00958-TWP-DLP Document 79-6 Filed 08/27/19 Page 5 of 19 PagelD #: 1024

(1) Upon motion of the prosecuting attorney and good cause
shown, order retesting of the identified biological material and stay
the petitioner’s motion for a new trial pending the results of the
DNA retesting.

(2) Upon joint petition of the prosecuting attorney and the
petitioner, order the release of the person.

(3) Order a new trial or any other relief as may be appropriate
under Indiana law or court rule.

Ind. Code § 35-38-7-19. (emphasis added). The term “favorable” is not defined by statute.
However, Indiana case law has provided a definition. Results are favorable to the convicted
petitioner if “the results are such that there is a reasonable probability that the verdict or sentence
would have been different had they been available at irial.”. Greenwell v. State, 884 N.E.2d 319,
326 (Ind. Ct. App. 2008), trans. denied, 898 NB2d 1228 (Ind. 2008), Conversely, results are
considered not favorable if they are “of marginal or dubious help at trial.” Jd. at 326.

14, The undersigned State’s Attorneys have discussed the DNA results with a
representative from the Indiana State Police Crime Lab, Based on those discussions, the State is
satisfied with the resulis and hereby informs the Court that the State wil] not be asking the Court
for an order to retest the samples pursuant to I.C. § 35-38-7-19(1).

15. The parties agree that the DNA results described above are “favorable” within the
meaning of 1.C, § 35-38-7-19. The DNA test results prove that the sperm on the victim’s jeans and
the sperm on the victim’s vaginal/cervical swabs did not belong to Mr. Bamhouse. Given the
specific facts of this case, the parties agree that the results are such that there is a reasonable
probability that Mr. Barnhouse would not have been convicted if the resulis had been available at
trial. Consequently, the State believes that it is in the best interests of justice to vacate the

Defendant's convictions herein and for the Court to order a new trial.
Case 1:19-cv-00958-TWP-DLP Document 79-6 Filed 08/27/19 Page 6 of 19 PagelD #: 1025

WHEREFORE, the parties respectfully request that this Honorable Court vacate Mr.
Barnhouse’s convictions and sentences and grant him a new trial.
AFTIRMATION
We affirm under the penalties for perjury that the foregoing representations in these five
pages are true to the best of our knowledge and belief.

Respectfully submitted,

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Frances Lee Watson, #8532-49 Jeffrey Arnold, #10491-18
330 W. New York Street Prosecuting Attorney
Indianapolis, IN 46202 46" Judicial Circuit of Indiana
Tel.: (317) 274-5551

fwatson@iupui.edu

   

Eric M. Hoffman, #24232-18
Chief Deputy Prosecutor
46" Judicial Circuit of Indiana

Seema T. be | {

Barry C, Scheck*

Innocence Project

40 Worth Street, Suite 701
New York, NY 10013

Tel.: (212) 364-5340
ssaifee@innocenceproject.org
bscheck@innocenceproject.org

*Verified Petition for Temporary Admission Granted

Attorneys for William E. Barnhouse
Case 1:19-cv-00958-TWP-DLP Document 79-6 Filed 08/27/19 Page 7 of 19 PagelD #: 1026

CERTIFICATION OF NOTICE TO VICTIM

 

The undersigned hereby certifies to the Court that they have personally met with the
victim in this case and explained to her the procedural posture of the case, the applicable law,

this agreement, and other related issues.
LE,

Eric M. Hoffman # 23432-18

   

  

Amold #10491-18

Prosecuting Attorney Chief Deputy Prosecutor
46" Judicial Circuit of Indiana 76" Judicial Circuit of Indiana
Case 1:19-cv-00958-TWP-DLP Document 79-6 Filed 08/27/19 Page 8 of 19 PagelD #: 1027

EXHIBIT A

 
Case 1:19-cv-00958-TWP-DLP Document 79-6 Filed 08/27/19 Page 9 of 19 PagelD #: 1028

IN THE DELAWARE CIRCUIT COURT 2

WILLIAM BARNHOUSE, )
)
Movant, )
ve ) Gause No, 18D02-9204-GF-45
)
STATE OF INDIANA, ) b F
) ELAWADE: ppp, si?
Respondent. . ) DELAWARE GGL” rune Be 2
‘ Ha .
JAN 2 ne

POST-CONVICTION DNA TESTING AGREEMENT AND Konto, bus:
INSTRUCTIONS TO TESTING LABORATORY - i.

7. The Defendant in this case is considering whether to file a peillion for post-
conviction rellef pursuant to Indiana Code § 35-38-7-5. Before deciding whether
to file such a petition, the Defendant seeks fo test various evidentiary items for
the presence of DNA as stich a test was not available at the time of trial In this
cause. .

"2. By agreement of the Innocence Project and the Delaware County Prosecutor's
Office, the following evidence, confirmed to be In the possession of the Delaware
Circuit Coust 2, shall be sent to Bode Collmark Forensics (‘Bode"} for post-
conviction DNA testing: .

a. State's Exhibit 3 (black Jeans of victim)
b. State's Exhibit 4 (rape kit of victim)

3. . The evidence shall be delivered, within 14 days of this agreement, via Federal
Express, to the following address: ATTN: EVIDENCE DEPARTMENT, Bode
Cellmark Forensics, 10430 Fumace Road, Sulte 107, Lorton, VA 22078.

4. A representative of the Muncle Police Deparimert will properly package, label
and ship the evidence In a scientifically acceptable manner designed to protect
the chain of custody of the evidence and fo ensure that the evidence Is not
damaged during transit, :

5. Any existing documentation relating fo previous testing or analysis conducted by
the Indiana State Police Crime Lab will be forwarded to Bode along with the
evidence.

6, Upon receipt, Bode shall Inventory and photograph the evidence, Before any
_ Quantitation or testing begins, Bode shall have a phone calf with counsel for

 
Case 1:19-cv-00958-TWP-DLP Document 79-6 Filed 08/27/19 Page 10 of 19 PagelD #: 1029

William Bamhouse, Seema Saifee, ssalfee@innocenceprolect.ore; tel, (212) 364-
5982 and Eric Hoffman, Delaware County Prosecutors Office,

ehofiman@co.delaware.in.us: tel. 765-747-7801 ext. 348, to discuss the case
and the DNA testing being requested. .

%. Testing at Bode will proceed in two stages. In the first stage, Bode shall test only
the crime scene evidence and, depending on the results of the testing, the
victim’s reference sample, At the conclusion of testing Bode shall issue a report
with the results of testing, The report shall be delivered, by e-mall and hard
copy, simultaneously to both-parties.

8. if Bode obtains a male DNA profile as a result of the testing of tha crima scene
evidence, the parties will arrange to collect a buccal swab reference sample from
Mr. Bamhouse. Specifics regarding the time, place and personnel who will
collect this reference sample will be agreed to by the parties at a Jater date. The
reference sample shall be separately shipped, by Federal Express, to Bode,

9. in the second stags, Bode shall perform DNA testing on Mr. Bamhouse's
reference sample and Issue a report containing the results of this testing and the
comparison of Mr. Bamhouse’s profile to the profile(s) obtained from the crime
scene evidence. The report shall be delivered, by e-mail and hard copy,
simultaneously to both parties.

10. Bode shall submit any NDIS eligible profiles developed from the crime scene
evidence to the Indiana State Pollce Crime Laboratory for review for CODIS

entry.

11. Bode will not unnecessarily consume any evidence samples and will attempt to
preserve all portions of each sample for which consumption is not scientifically
necessary.

12, Upon request, Bode will provide the parties with the underlying data from Its
testing, such as the electronic data, hench notes, worksheets,
elechopherograms, photographs, and any other documentation that relates to the
testing conducted.

13. The Innocence Project shall bear ail costs of testing the evidence and reference
samples, Including any adminlstrative and/or incidental costs of shipping and
recelpt.

14. Hi, after completion of the testing, either party desires to examine or test items not |
contemplated in this order, such testing shall proceed by further witten
agreement of the parties or by court order.

 
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Attomey for the State: Attomey for the Defendant:

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oS Eric Hoffrnan 24232-18 s. i Yb

Chief Deputy Prosecutor 530 W. New York Street
464 Judiclal Circult of indiafiz Indianapolis, IN 46202

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Date

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SO APPROVED AND ORDERED THIS DAY OF Aanuaoy — 2016,
ai ap DQWLING, JUDGE

DELAWARE CIRCUIT COURT NO, 2

 

 
Case 1:19-cv-00958-TWP-DLP Document 79-6 Filed 08/27/19 Page 12 of 19 PagelD #: 1031

EXHIBIT B

 
Case 1:19-cv-00958-TWP-DLP Document 79-6 Filed 08/27/19 Page 13 of 19 PagelD #: 1032

4 Bode Cellmark
FORENSICS
LabCorp SpectaftyTaiting Grup

10430 Fumace Road, Suite 167
Lorion, VA 22079
Phone: 703-646-9740

 

Forensic Case Report
June 23, 2016
To; Bode Cellmark Case #: CCA1629-0030 .
Seema Saifee Agency Case #: 92 FM 0871/ 92-13302 '

innocence Project
40 Worth St. Suite 701
New York, NY 10073

Victim: Patricia R. Lasley
Suspect: Wiillam E. Barnhouse

List of evidence received on January 29, 2016 for possible DNA analysis:
(Evidence received and evaluated, but not isolated far possible DNA analysis, Is Ilsted in the case

Inventory.)

Bode Cellmark Sample Name Agency Sample ID Agency Description

CCA1628-0030-E01 ltom #2 Labelad as "Sealed paper bag with
victim's jeans”

CCA1629-0030-E02 Kam #1 Labeled as “Vaginal & Cervical
Swabs”

CCA1829-0030-R03 Not Listed Labeled as “Lasley, Patricia R. Saliva
Sample"

Forensic Biglogy Results:
1. Semen was confirmed in the following sample:

CCA1629-0030-E01

DNA Processing, Results, and Conclusions:

The evidence was precessed for DNA typing by analysis of the 13 CODIS Short Tandem Repeat Ioci, the
Penta E locus, the Penta D locus, and the Amelogenin locus using the Promega PowerPlex® 16 HS kit.

1. A partial DNA profile was obtained from sample CCA1629-0030-R03 (Patricia R. Lasley). ,

2. The same DNA profile was obtained from the sperm fraction (SF) of sample CCA1629-0030-
E01 and the sperm fraction (SF) of sample CCA1629-0030-E02 and Is consistent with a male
contributor (Mate 1).

The individual associated with sample CCA1629-0030-RG3 (Patricia R. Lasley) is excluded
#8 a possible contributor of the DNA profile cbtained from the samples listed above,

3. No DNA profile was oblained from the epithellal fraction {EF) of sample CCA1 629-0030-E01,
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Case 1:19-cv-00958-TWP-DLP Document 79-6 Filed 08/27/19 Page 14 of 19 PagelD #: 1033

Bode Callmark Case #: CCA1629-0030 Date: June 23, 2016
Agency Case #: 92 FM 0871/ 92-13302

DNA Processing, Results, and Conclusions (continued):

4, The DNA profile obtained from the epithelfal fraction (EF) of sample CCA1629-0030-E02 Is
consistent with a mixture of at least two Individuals Including the victim and at least one male
contributor.

Due to the possibility of allelic drop out, no conclusions can be made on the minor alleles ‘
present In the epithelial fraction (EF) of sample CCA1629-0030-E02.

See Table 1 for summary of alleles reported for each sample.

Notes:

1. Testing performed for this case is in compliance with accredited procedures unter the
laboratory's [SO/EC 17026 accreditation issued by ASCLD/LAB and ANAB. Refer to certificates
and scopes of accredilation for certificate numbers ALI-231-T and AT-1672, respectively.

2. The DNA profiles reported in this case were determinad by procedures that have been validated
according to the standards established In the FBI's Quality Assurance Standards for Forensic DNA
Testing Laboratories. .

3. Any reference to body fluids In evidence descriptions are based on the written descriptions of the
samples by the submitting agency.

4. The DNA extracts and submitted evidence will be returned to the Muncie Police Department.

5. Sample CCA1629-0030-R03 was extracted two times (-RO3a/b). Data from the second extraction

(-RO3b) were reported.
Report submitted by,
Lickin. Nol Pawn
Christina H. Nash, MSFS Purnima Bokka, MFS
DNA Analyst Forensic Biology Analyst |
[DNA] (Forensic Biology]

Page 2 of 3 . x%

 
Case 1:19-cv-00958-TWP-DLP Document 79-6 Filed 08/27/19 Page 15 of 19 PagelD #: 1034

Bode Celimark Case #: CCA1629-0030 Date: June 23, 2016
Agency Casa #: 92 FM 0871/ 92-13302 ;

Table 1: Analysis of Short Tandem Repeat Loci

 

»-- — Possible additional alleles
()— Minor allele

Table 1: Analysis of Short Tandem Repeat Loc! (continued)

 

~~ Possible additional alleles '
{}—,Imbalanced alleles Le :

Page 3 of 3

 
Case 1:19-cv-00958-TWP-DLP Document 79-6 Filed 08/27/19 Page 16 of 19 PagelD #: 1035

EXHIBIT C

 
Case 1:19-cv-00958-TWP-DLP Document 79-6 Filed 08/27/19 Page 17 of 19 PagelD #: 1036

ra Bode Cellmark
b= FORENSICS

vee bee etbotee Sreebnsenbneoea

Uabtoup Speclalty Testing Emu

10430 Furnace Road, Suite 107
Lorton, VA 22079
Phone: 703-648-9740

 

Supplemental Forensic Case Report

November 14, 2016
To: . Bode Callmark Case #: CCA1629-0030
Seema Salfee Agency Case #: 02 FM 0877/ 92-13302
Innocence Project
40 Worth St, Suite 701
New York, NY 10013

Victim: Patricia R. Lasley
Subject: Willlam E. Barnhouse

Partial list of evidence received on January 29, 2016 for possible DNA analysis:
Bade Cellmark Sample Name Agency Sample !D Agency Description

CCA1629-0030-E01 ltam #2 Labeled as “Sealed paper bag with
victim's jeans"

CCA1629-0030-E02 item #1 Labeled as “Vaginal & Cervical
Swabs"

List of evidence racaived on September 6, 2016 for possible DNA analysis:

Bode Cellmark Sample Name Agency Sample ID Agency Description
GCA1629-0030-RO4 Not Listed Labeled as "Suspect Buccal Swabs"

[Willam Barnhouse]
DNA Processing, Results, and Conclusions:

The evidence was processed for DNA typing by analysis of the 13 CODIS Short Tandem Repeat loci, the
Penta E locus, the Penta D locus, and the Amelogenin locus using the Promega PowerPlex® 46 HS kil.

1. ADNA profile was oblained from sample CCA1629-0030-R04 (Willlam Barnhouse).

2. The same DNA profile was previously obtained from the sperm fraction (SF) of sample
CCA1629-0030-E01 and the sperm fraction (SF) of sample CCA1628-0030-E02 and is
consistent with a male contributor {Male 1).

The individual associated with sample CCA1629-0030-R04 (William Barnhouse) is excluded
as @ possible contributor of the DNA profile obtained from the samples listed above.

3. No DNA profile was previously obtained frorn the epithelial fraction (EF) of sample CCA1620-
0030-E0t.

4. The DNA profile previously obtained from the epithelial fraction (EF) of sample CCA1620-
0030-E02 is consistent with a mixture of at least two Individuals Including the victim and at
least one male contributor,

Due to the possibilily of allelic drop out, no conclusions can be made on the miner alleles
present In the epithelial fraction (EF) of sample CCA1629-0030-E02.

See Table 1 for summary of alleles reported for each sample. oot
Page i of 3 oa’

 
Case 1:19-cv-00958-TWP-DLP Document 79-6 Filed 08/27/19 Page 18 of 19 PagelD #: 1037

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Bode Cejlmark Case #: CCA1629-0030 Date: November 14, 2016
Agency Case #: 92 FM G871/ 92-13302

Notes;
1.

Testing performed for this case is in compliance with accredited procedures under the
laboratory's ISOMEC 17025 accreditation issued by ASCLD/LAB and ANAB, Refer to certificates
and scopes of accreditation for certificate numbers ALI-231-T and AT=1672, respectively.

The DNA profiles reported in this case were determined by procedures that have been validated
according to the standards established In the FBI's Quality Assurance Standards for Forensic DNA
Testing Laboratories.

Any reference to body fluids in evidence descriptions are based on fhe written descriptions of the
samples by the submitting agency.

The DNA extracts and submitted evidence will be returned to the Muncie Police Department.

A supplemental report was Issued due to the submission of additional evidence, Please see
original report dated June 23, 2046,

Report submitted by,

lttiva F. Tro

Christina H. Nash, MSFS
DNA Analyst I

Page 2 of 3 Jd

 
Case 1:19-cv-00958-TWP-DLP Document 79-6 Filed 08/27/19 Page 19 of 19 PagelD #: 1038

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‘ .

Bode Cellmark Case #: CCA1629-0030 Bate: November 14, 2016
Agency Case #: 92 FM 0874/ 92-13302

Table 1: Analysis of Short Tandem Repeat Loci

Results

 

{}-Minor allele

Table 1: Analysis of Short Tandem Repeat Loci {continued)

No Results

3,
11,

 

--- ~ Possible additional alieles
{}~Imbalanced alleles

Page 3 of 3 RA

 
